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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Counsel to County of Santa Clara, County of Los Angeles,
 County of Fresno and County of Riverside
     In re:                                                               Chapter 11

     BED BATH & BEYOND INC., et al.,                                      Case No. 23-13359 (VFP)

                                     Debtors.1                            (Jointly Administered)

                                                                          Hearing Date and Time: October 24,
                                                                          2023 at 10:00 a.m. (ET)


       OBJECTION OF COUNTY OF SANTA CLARA, COUNTY OF LOS ANGELES,
     COUNTY OF FRESNO AND COUNTY OF RIVERSIDE TO DEBTORS’ MOTION TO
       DETERMINE TAX LIABILITY AND STAY PROCEEDINGS AS TO CERTAIN
                     CALIFORNIA TAXING AUTHORITIES


 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
 650 Liberty Avenue, Union, New Jersey 07083.

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             The County of Santa Clara ("Santa Clara"), County of Los Angeles ("LA"), County of

 Fresno ("Fresno") and County of Riverside ("Riverside") (collectively, the "Counties"), by and

 through their undersigned counsel, respectfully submit this objection (the "Objection") to Debtors’

 Motion To Determine Tax Liability And Stay Proceedings As To Certain California Taxing

 Authorities (the "Motion") [Docket No. 2181], and in support thereof, respectfully represent, as

 follows: 2

                                         PRELIMINARY STATEMENT

            1.        In the Motion, the Debtors seek Court authority to determine market values to

 establish the bases upon which to compute taxes for the 2023 tax year in connection with the

 Debtors’ personal property located within seventeen (17) different counties across forty-nine (49)

 different locations throughout the State of California. The Debtors allege that, with the assistance

 of their advisors, they used sales of retail furniture, fixtures, equipment, and leasehold

 improvements at the Debtors’ stores ("Debtor Sales Data") to approximate the Fair Market Value

 of the Property as allowed by applicable non-bankruptcy law as of the date the values were to be

 assessed and that such source provides a representative assessment of the Fair Market Value of the

 Debtors’ Property. See Motion ¶ 16.

            2.        The Debtors contend that the "Assessing Authorities 2023 Fair Market Value" for

 the Property as provided in the Assessment Schedule is "overstated". Id. at ¶¶ 9, 11 & 15. The

 Debtors urge this Court to determine the market values for the Property based upon their expert’s

 opinion whose Revised Fair Market Values are proposed in Exhibit 1 (Assessment Schedule) to

 the Declaration of John W. Lammert (the "Lammert Declaration"). In total, the Assessment

 Schedule’s "Assessing Authorities 2023 Fair Market Value" of the Property is $33,193,638.00,



 2
     Unless otherwise defined herein, all capitalized terms shall have the same meaning as ascribed to them in the Motion.

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 whereas the Debtors’ Revised Fair Market Values for the Property is $2,598,559.00. Stated

 differently, the Debtors boldly assert, with little substance, that the fair market value of the

 Property is "overstated" by nearly $30.6 million or by over 92%.

           3.       As a procedural matter, although the Debtors’ Motion constitutes a contested

 matter under Rule 9014 of the Federal Rules of Bankruptcy Procedure, the Affidavit of Service

 [Docket No. 2392] filed with the Court reveals that the Debtors did not properly serve the Motion

 in accordance with state and federal laws. For this reason, it’s not clear whether all of the

 California Counties affected by this Motion received proper notice in order to defend their interests

 in a timely fashion.

           4.       If the Court moves beyond the defective service of the Motion, Section

 505(a)(2)(C) of the Bankruptcy Code provides, in relevant part that, "[t]he court may not so

 determine – the amount or legality of any amount arising in connection with an ad valorem tax on

 real or personal property of the estate, if the applicable period for contesting or redetermining that

 amount under applicable nonbankruptcy law has expired." 11 U.S.C. § 505(a)(2)(C). With respect

 to Santa Clara’s interests, this Court lacks jurisdiction under Section 505(a)(2)(C) to determine

 this dispute because the deadline by which Debtors were required to file an appeal with the local

 Assessment Appeals Board has expired.3 See Cal. Rev. & Tax. Code § 1603. Thus, with respect

 to Santa Clara’s interests, this Court lacks jurisdiction over the Debtors’ Motion pursuant to

 Section 505(a)(2)(C) of the Bankruptcy Code.

           5.       If the Court looks beyond the defective service of the Motion and the exception to

 Section 505 of the Bankruptcy Code with respect to Santa Clara’s interests, the Counties believe


 3
   In California, the general deadline to file an appeal with the local Assessment Appeals Board is September 15, 2023
 if the local assessor provided timely notice to the taxpayer. See Cal. Rev. & Tax. Code § 1603(b)(1). However, this
 deadline is extended to November 30, 2023 if the local assessor did not provide certain notice to the taxpayer. See
 Cal. Rev. & Tax. Code § 1603(b)(3).

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 the abstention factors strongly favor the Court permissively abstaining from hearing the Motion.

 While Section 505(a)(1) of the Bankruptcy Code allows a bankruptcy court to determine a debtor's

 tax liabilities, the statute is discretionary ("may" versus "must"). Furthermore, "in the interest of

 justice, or in the interest of comity with State courts or respect for State law," the applicable factors

 for discretionary abstention under 28 U.S.C. § 1334(c)(1) weigh heavily in favor of having this

 Court permissively abstain. The factors include: the complexity of the tax issue; the need to

 administer the bankruptcy case in an orderly and efficient manner; whether adjudicating the issue

 will create a substantial burden on the court’s docket; whether significant time is needed to reach

 a decision; whether the debtor’s asset and liability structure warrants a ruling; and the potential

 prejudice to the debtor, taxing authorities, and creditors.

           6.     The Counties submit that abstention is appropriate because the Motion requires a

 "fact intensive review." Contrary to the Debtors’ suggestion, it is clear that Fair Market Value is

 only a starting point in the complex procedure of equalization that has been created by the

 California State Board of Equalization. California’s mechanism for valuing and disputing property

 assessments is in place and should be allowed to proceed. Furthermore, any decision by this Court

 on the valuation/tax issues presented could affect the uniformity of assessment of taxes imposed

 on other taxpayers throughout the State of California.

           7.     In the event this Court does not abstain, the Counties respectfully request that the

 Court deny the Motion because the Debtors have failed to carry their burden for primarily four

 reasons. First, the law presumes that Assessors (defined below) have properly performed their

 duties under California law. Second, the Debtors failed to properly assess the Property’s Fair

 Market Value as of January 1, 2023 (the "January 1 Lien Date"). Third, the Debtors’ interpretation

 and application of Fair Market Value is fundamentally flawed because the sales took place in a



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 distressed sale environment during Debtors' going out of business sales. In short, sales of assets

 from a distressed or liquidation environment are not valid indicators of fair market value under

 California law’s definition of "fair market value" because the buyer has the ability to take

 advantage of the exigencies of the seller while the Debtors are forced to sell their inventory at

 artificially low prices. Fourth, although California employs three (3) primary valuation methods

 to value business personal property (the comparative sales approach, the income approach, and the

 cost approach), the Debtors’ reliance on its own "Debtor Sales Data" is not a valid or recognized

 valuation method under California law.

           8.        In summary, the Motion fails to present evidence sufficient to overcome the

 statutory presumption that the California Counties correctly valued the Property in question. The

 Lammert Declaration does not assist the trier of fact because he does not present reliable or credible

 evidence of Fair Market Value by his reliance on the Debtor Sales Data. See Rule 702 of the

 Federal Rules of Evidence.4              In short, nothing in the Lammert Declaration satisfies local

 assessment standards under California law. Accordingly, if this Court is not inclined to abstain

 from hearing this matter, the Motion must be denied in its entirety.

                                              BACKGROUND FACTS

           9.        On April 23, 2023 (the "Petition Date"), the Debtors filed voluntary petitions

 under chapter 11 of Title 11 of the United States Code ("Bankruptcy Code").

           10.       On September 11, 2023, the Debtors filed their Second Amended Joint Chapter 11

 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2160] (the "Second




 4
    Rule 702 of the Federal Rules of Evidence provides that “[a] witness who is qualified as an expert by knowledge,
 skill, experience, training, or education may testify in the form of an opinion or otherwise if: (a) the expert’s scientific,
 technical, or other specialized knowledge will help the trier of fact to understand the evidence or to determine a fact
 in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony is the product of reliable principles
 and methods; and (d) the expert has reliably applied the principles and methods to the facts of the case”.

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 Amended Plan").

           11.       On September 14, 2023, this Court entered Findings of Fact, Conclusions of Law,

 and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No.

 2172].

           12.       On September 15, 2023, the Debtors filed Debtors’ Motion To Determine Tax

 Liability And Stay Proceedings As To Certain California Taxing Authorities [Docket No. 2181]

 (the Motion). The Debtors seek Court authority "to establish the property market values based

 upon which to compute taxes for tax year 2023 for the Debtors property" involving a total of

 seventeen (17) California counties.

           13.       On September 15, 2023, the Debtors filed Debtors’ (I) Second Omnibus Objection

 To Certain Tax Claims and (II) Motion to Determine Tax Liability and Stay Proceedings [Docket

 No. 2180] (the "Second Motion") which affects nine (9) other California counties who appear to

 have filed proofs of claim prior to the filing of the Debtors’ Second Motion.5

                                         SUMMARY OF ARGUMENT

           14.       As a threshold matter, the Court should deny the Motion because service upon the

 California Counties was defective. Next, as to Santa Clara’s interests, this Court lacks jurisdiction

 over the Debtors’ Motion pursuant to Section 505(a)(2)(C) of the Bankruptcy Code. If the Court

 looks beyond the defective service of the Motion and the exception to Section 505(a) of the

 Bankruptcy Code with respect to Santa Clara’s interests, the Counties respectively request that the

 Court exercise its discretion to permissively abstain from hearing this Motion pursuant to 28



 5
     The deadline for governmental units to file proofs of claim does not expire until on or around October 20, 2023.
 Therefore, to the extent one or more of the Counties have not filed their proofs of claim as of the date of the filing of
 this Objection, those Counties reserve their right to do so.

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 U.S.C. § 1334(c)(1) as the relevant factors strongly favor abstention. In the event the Court does

 not abstain, the Counties believe the Motion should be denied in its entirety as to all California

 Counties because the Debtors have failed to carry their burden. Finally, in the event the Court

 does not deny or abstain from hearing the Motion based on the Objection (and the accompanying

 declarations submitted by the Counties6), the Counties respectfully request that the Court: (i)

 authorize the exchange of discovery and/or information; (ii) establish a briefing schedule and that

 an evidentiary hearing be set with respect to the disputed valuation issues; and (iii) establish a

 common procedure for all objectors and/or responders who possess common interests in law or

 fact in the interest of judicial efficiency and economy.

                                                        ARGUMENT

           I.      THE MOTION MUST BE DENIED BECAUSE THE DEBTORS DID NOT
                   COMPLY WITH STATE AND FEDERAL SERVICE RULES

           15.      The Debtors’ Motion constitutes a contested matter under Rule 9014 of the

 Federal Rules of Bankruptcy Procedure ("FRBP"). See e.g., Whelan v. United States of America

 (In re Whelan), 213 B.R. 310, 313 (Bankr. W.D. La. 1997) ( "a motion brought pursuant to the

 provisions of section 505(a) is a contested matter"); In re Vale, 180 B.R. 1017, 1020 (Bankr. N.D.

 Ind. 1994) (a "§ 505(b) motion is a contested matter falling within the scope of Fed.R.Bk.P. 9014").

 The existence of an underlying unresolved dispute is the hallmark of a contested matter. See

 United States v. Laughlin (In re Laughlin), 210 B.R. 659, 661 n. 2 (B.A.P. 1st Cir. 1997) ("it is the

 existence of an unresolved dispute and a motion seeking relief, rather than formal opposition to

 the relief sought, that identify a contested matter"). In order for the Debtors to prosecute the

 Motion, FRBP 9014(a) mandates that certain procedures must be followed in a contested matter



 6
  Specifically, the declarations of: (i) John Sleeman for Santa Clara; (ii) Calvin Chien for LA; (iii) Belinda Landig for
 LA; (iv) Jennifer Fruge for Fresno; and (v) Jennifer Lemley for Riverside.

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 pending before the Court. For example, FRBP 9014(b) specifically requires that service of the

 Motion shall be effectuated in a manner provided for service of a summons and complaint pursuant

 to FRBP 7004, as follows:

                 (b) Service. The motion shall be served in the manner provided for
                 service of summons and complaint by Rule 7004 and within the time
                 determined under Rule 9006(d).
           16.    Furthermore, according to FRBP 7004(b)(6), which governs service by first class

 mail upon a municipal or governmental organization, the Debtors were required to serve the

 Motion upon the person or office authorized by state law to receive service of process on behalf

 of the California Counties. Pursuant to California Code of Civil Procedure ("C.C.P.") Section

 416.50 (which governs service of process upon a municipal or governmental organization),

 California law provides that:

                 (a) A summons may be served on a public entity by delivering a
                 copy of the summons and of the complaint to the clerk, secretary,
                 president, presiding officer, or other head of its governing body;
                 (b) As used in this section, "public entity" includes the state and any
                 office, department, division, bureau, board, commission, or agency
                 of the state, the Regents of the University of California, a county,
                 city, district, public authority, public agency, and any other political
                 subdivision or public corporation in this state (emphasis added).
           17.    Here, the Affidavit of Service filed in connection with the Motion reveals that the

 Debtors did not comply with the above-referenced service rules mandated under state and federal

 law with respect to the Counties. The Debtors’ blanket service upon the assessor, the tax collector

 or even the assessment appeals board does not constitute proper service because these officials do

 not serve as the "clerk, secretary, president, officer, or other head of its governing body" under

 C.C.P. Section 416.50. See Affidavit of Service [Docket No. 2392], Exhibit "B", p. 24. The

 Counties express some concern that some California Counties may not have received any notice

 of the Motion. The "fundamental requisite of due process of law is the opportunity to be heard".


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 Grannis v. Ordean, 234 U.S. 385, 393, 34 S.Ct. 779, 783 (1914) (citation omitted). "This right to

 be heard has little reality or worth unless one is informed that the matter is pending and can choose

 for himself whether to appear or default, acquiesce or contest". See Mullane v. Central Hanover

 Bank & Trust, Co., 339 U.S. 306, 314, 70 S.Ct. 652, 657 (1950) (holding, in part, that due process

 requires reasonable notice and opportunity for hearing appropriate to the pending matter which is

 to be provided finality).

           18.    With a minimal amount of effort – the same amount of effort that the Debtors were

 willing to exert for determining the Fair Market Value for the Property in question – the Debtors

 could have very easily identified the appropriate party to serve and provided each of the California

 Counties with proper notice. Based upon the Debtors’ disregard for the applicable service rules,

 the Motion should be denied.

           II.   WITH RESPECT TO SANTA CLARA’S INTERESTS, THIS COURT
                 LACKS JURISDICTION TO DETERMINE THE MOTION BECAUSE THE
                 DEADLINE TO FILE AN APPEAL WITH THE LOCAL ASSESSSMENT
                 APPEALS BOARD HAS EXPIRED PURSUANT TO SECTION 505(a)(2)(C)
                 OF THE BANKRUPTCY CODE.

           19.    Section 505(a)(2)(C) of the Bankruptcy Code provides, in relevant part that, "[t]he

 court may not so determine – the amount or legality of any amount arising in connection with an

 ad valorem tax on real or personal property of the estate, if the applicable period for contesting or

 redetermining that amount under applicable nonbankruptcy law has expired". 11 U.S.C. §

 505(a)(2)(C). With respect to Santa Clara’s interests, this Court lacks jurisdiction under Section

 505(a)(2)(C) to determine this dispute because the deadline by which Debtors were required to file

 an appeal with the local Assessment Appeals Board expired on September 15, 2023. See Cal. Rev.

 & Tax. Code § 1603. In California, the general deadline to file an appeal with the local Assessment

 Appeals Board is September 15, 2023 – if the local assessor provided timely notice to the



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 taxpayer. See Cal. Rev. & Tax. Code § 1603(b)(1). However, this deadline is extended to

 November 30, 2023 if the local assessor did not provide certain notice to the taxpayer. See Cal.

 Rev. & Tax. Code § 1603(b)(3).

           20.     After diligent review, Santa Clara did not locate any information with regard to

 the commencement of any appeal by the Debtors with the local Assessment Appeals Board. Thus,

 this Court lacks jurisdiction over the Debtors’ Motion pursuant to Section 505(a)(2)(C) of the

 Bankruptcy Code. Even if this Court did possess the jurisdiction to determine the 2023 taxes in

 issue (which it does not), this Court should exercise its discretion to permissively abstain from

 such a determination under 28 U.S.C. § 1334(c)(1).

           III.   THE COURT SHOULD EXERCISE ITS DISCRETION                                          TO
                  PERMISSIVELY ABSTAIN FROM HEARING THE MOTION

           21.     Bankruptcy courts possess the requisite authority to abstain from hearing a motion

 on a discretionary basis "in the interest of justice, or in the interest of comity with State courts or

 respect for State law". 28 U.S.C. § 1334(c)(1) provides that:

                  Except with respect to a case under chapter 15 of title 11, nothing in
                  this section prevents a district court in the interest of justice, or in
                  the interest of comity with State courts or respect for State law, from
                  abstaining from hearing a particular proceeding arising under title
                  11 or arising in or related to a case under title 11.
           22.     Section 505 governing determination of tax liability allows but does not require

 bankruptcy courts to determine debtor's tax liabilities. See 11 U.S.C. § 505(a)(1); see also, In re

 Schwartz, 205 B.R. 394, 397 (Bankr. N.D. Ill. 1997)("Use of the directory ‘may’ not ‘must’ in §

 505(a)(1) is indicative of the discretionary nature of the bankruptcy court’s exercise of such

 jurisdictional grant…Thus, the bankruptcy court may abstain from exercising its jurisdiction to

 resolve disputed tax liabilities.") (citations omitted). Courts that have abstained in Section 505

 matters have generally done so if a determination of the motion would require "a fact intensive


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 review of the value of the property and the amount of the taxes in question," or if its decision

 "could affect the uniformity of assessment of . . . taxes imposed on other taxpayers". In re Ryckman

 Creek Resources, LLC, 570 B.R. 483, 486 (Bankr. D. Del. 2017) (citations omitted).

           23.    In the Third Circuit, bankruptcy courts generally analyze the following six (6)

 factors to determine whether to exercise their authority to hear a tax issue under Bankruptcy Code

 Section 505(a)(1): (1) complexity of the tax issue; (2) need to administer the bankruptcy case in

 an orderly and efficient manner; (3) whether adjudicating the issue will create a substantial burden

 on the court’s docket; (4) whether significant time is needed to reach a decision; (5) whether the

 debtor’s asset and liability structure warrants a ruling; and (6) the potential prejudice to the debtor,

 taxing authorities, and creditors. See Ryckman Creek Resources, 570 B.R. at 487.

           24.    As demonstrated below, application of the above-referenced factors weigh heavily

 in favor of having the Court permissively abstain from hearing this Motion.

           Factor 1: Complexity of Tax Issue

           25.    The complexity of the tax issue is best broken down in two (2) parts: (A)

 California's property taxation law is complex and requires uniformity of assessment; and (B)

 Debtors’ failure to address necessary complexities of the tax issues.

                 A. California’s Property Taxation Law Is Complex And Requires Uniformity Of
                    Assessment

                         i. California State Board of Equalization

           26.    The California Constitution provides that all property is taxable and requires

 uniformity of property taxation unless otherwise provided in the Constitution or the laws of the

 United States. See Cal. Const., Article XIII, § 1. To that end, the California Legislature formed

 and authorized the State Board of Equalization (the "Board" or "BOE") to oversee the operation

 and functioning of local boards of equalization. See The Prudential Ins. Co. of America v. City &


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 County of San Francisco (1987), 191 Cal.App.3d 1142, 1151. Accordingly, "[t]he State Board of

 Equalization shall . . . [p]rescribe rules and regulations to govern local boards of equalization when

 equalizing, and assessors when assessing . . ." Prudential, 191 Cal.App.3d 1142 at 1151 (citing

 Cal. Gov’t Code § 15606, subd. (c)). "Toward this end, the Board is empowered to issue ‘rules,

 regulations, instructions, and forms . . ." Id. (citing Gov. Code, § 15606, subd. (f)). "The Board,

 pursuant to this authorization, has enacted administrative rules governing both local boards of

 equalization and tax assessors" and such rules have the force and effect of law. Id. at 1151.

           27.      The BOE acts in an oversight capacity to ensure compliance by county assessors

 with property tax laws, regulations, and assessment issues which are binding statewide. To

 perform the oversight functions, the BOE’s property tax division conducts periodic compliance

 audits of the fifty-eight (58) California county assessors' programs and develops property tax

 assessment policies and informational materials to guide county assessors and local assessment

 appeals boards. The BOE’s functions and property tax rules and regulations can be publicly found

 on the internet.7 In furtherance of promoting and establishing uniformity across the State of

 California, the BOE established the "Assessors' Handbook" with the objective of giving county

 assessors, their staff, and other interested parties an understanding of the principles of property

 assessment and real and personal property appraisal for property tax purposes. 8 Additionally, the

 Assessors' Handbook presents the BOE’s interpretation of rules, laws, and court decisions

 concerning property assessment and has been relied upon by the courts in interpreting valuation

 questions posed by the state Constitution and statutes. See Cox Cable San Diego, Inc. v. County

 of San Diego (1986) 185 Cal.App.3d 368, 377.

           28.      As set forth above, the California Constitution requires "all property subject to


 7
     See https://www.boe.ca.gov/proptaxes/proptax.htm.
 8
     The Assessors’ Handbook can be found at https://www.boe.ca.gov/proptaxes/ahcont.htm.

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 taxation to be assessed at the same percentage of value; i.e., there must be uniformity of

 assessment." Shafer v. State Bd. Of Equalization (1985) 174 Cal.App.3d 423, 429; see also, Cal.

 Const., article XIII, § 1. "Adjustment of assessment levels of various categories of property to a

 uniform percentage of full value is called ‘equalization.’" Wunderlich v. County of Santa Cruz,

 (2009) 178 Cal.App.4th 680, 688 (citation omitted). The BOE is charged with prescribing "rules

 and regulations to govern local boards of equalization when equalizing, and assessors when

 assessing" property. Wunderlich, 178 Cal.App.4th 680 at 689 (citing, Cal. Gov. Code, § 15606,

 subd. (c)). The Board is also required to "issue instructions to assessors designed to promote

 uniformity throughout the state and its local taxing jurisdictions in the assessment of property for

 the purposes of taxation." Id. (citing, Cal. Gov. Code, §§ 15606, subd. (e) and 15608).

                        ii. The Role of the Counties’ Assessors

           29.    The assessor (the "Assessor") is a constitutionally elected official whose main

 duty is to establish assessed property values under California law. In general, an assessor’s role

 consists of locating all taxable property in the county, identifying ownership, establishing a taxable

 value for all property subject to taxation, completing an assessment roll showing the assessed

 values of all property and applying all legal exemptions. See Cal. Const., art. XI, § 1, subd. (b);

 see also Cal. Rev. & Tax. Code §§ 405, 601; Plaza Hollister Ltd. Partnership v. County of San

 Benito (1999) 72 Cal.App.4th 1, 17 ("[i]t is the duty of the county assessor to prepare the local

 assessment roll (§ 601 et seq.) and to "assess all property subject to general property taxation at its

 full value."). Unlike real property, business personal property taxes are based on information

 provided annually by business owners to the county Assessor. See Cal. Rev. & Tax. Code § 401.

 Such business personal property is reappraised annually on January 1st because businesses may

 have acquired new or disposed of existing personal property during the course of the year. See



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 Cal. Rev. & Tax. Code § 2192; see also, Seegmiller v. County of Nev. (1997) 53 Cal.App.4th 1397,

 1400 ("[u]nder California law, the taxing agency's right to the taxes becomes fixed as of the lien

 date of the fiscal year to which they relate").

           30.    Each year, businesses with business personal property having an aggregate cost

 $100,000.00 or more must file a business property statement ("Business Property Statement"),

 under penalty of perjury. See Cal. Rev. & Tax. Code § 441(a). The Business Property Statement

 provides a basis for determining property assessments for fixtures and equipment and is filed with

 the relevant Assessor on an annual basis between the January 1 Lien Date and by 5:00 p.m. on

 April 1st. Id. The Business Property Statement shall show all taxable property owned, claimed,

 possessed, controlled, or managed by the person filing it and shall disclose such information as of

 12:01 on the January 1 Lien Date. Id. at §§ 442 and 448. If the business owner fails to file the

 Business Property Statement with the relevant Assessor on a timely basis, the Assessor will be

 compelled to estimate the value of the property from other information in the Assessor’s

 possession and add a penalty of ten percent (10%) of the assessed value. See Cal. Rev. & Tax.

 Code § 463.

           31.    In addition, there are strict standards governing a local appraiser employed by the

 Assessor. An appraiser cannot perform its duties unless he or she obtains a valid appraiser's or

 advanced appraiser's certificate issued by the Board and such appraiser maintains certain

 educational and/or experience requirements and passes a written examination. See Cal. Rev. &

 Tax. Code §§ 670-671.

                       iii. The Assessment Appeals Board (the "AAB")

           32.    The California Constitution provides that "[t]he Legislature shall pass all laws

 necessary to carry out the provisions of this article." Cal. Const., article XIII, § 33. "Pursuant to



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 this constitutional command, the California Legislature has statutorily established a three-step

 process for handling challenges to property tax assessments and refund requests." Steinhart v.

 County of Los Angeles (2010) 47 Cal.4th 1298, 1307. "The first step is the filing of an application

 under Revenue and Taxation Code section 1603, subdivision (a)", for a reduction on the local roll.

 Id. "The second step, which occurs after payment of the tax, is the filing of an administrative

 refund claim under section 5097, subdivision (a)". Id. "The third and final step in the process is

 the filing of an action in superior court pursuant to section 5140". Id.

           33.    Moreover, under the California Constitution, assessment appeals boards or

 county boards of equalization are established in each county. See Cal. Const., art. XIII, § 16.

 Specifically, Article XIII, Section 16 of the California Constitution authorizes the AAB to operate

 as a constitutional quasi-judicial hearing body for property tax disagreements between taxpayers

 and assessor offices. See Steinhart v. County of Los Angeles (2010) 47 Cal.4th 1298, 1307. These

 tribunals are mandated to hear and determine valuation disputes between assessors and taxpayers

 and members of AABs must meet competency requirements in real estate, accounting, appraisal

 or taxation. See Cal. Rev. & Tax. Code § 1624.

           34.   Under California law, AABs are authorized to make factual determinations,

 interpret property tax law and regulations, and apply the law and regulations to the appeals before

 them. Thus, AABs essentially function as the "trial court" for property tax disputes in California

 with the goal of ensuring that all real and personal property within the county are assessed fairly

 and accurately in accordance with California law. There are also strict guidelines imposed in an

 effort to preserve the AABs independence and integrity because no person can be eligible to serve

 on the AAB if such person has been employed by the Assessor’s office within three (3) years prior

 to his or her appointment. See Cal. Rev. & Tax. Code § 1624.1.



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           35.   In summary, the AAB exercises quasi-judicial powers and its mission is to render

 fair and impartial decisions regarding various tax disputes. The AAB possesses no general

 authority to value property located within the California county, only to determine the appropriate

 value when an appeal is filed by taxpayers. In reviewing a property tax assessment, the court must

 presume the Assessor properly performed his or her duty and that the assessment was both

 regularly and correctly made. See Chevron USA, Inc. v. County of Kern (2014), 230 Cal. App. 4th

 1315, 1331 ("[t]he burden is on the taxpayer to prove the property was improperly assessed")

 (citation omitted). When the taxpayer claims a valid valuation method was applied improperly,

 "the court may overturn the assessment appeals board’s decision only if there is no substantial

 evidence in the administrative record to support it." Id.

           36.   Importantly, the AAB is not to be confused with the County Assessor or even the

 tax collector. See Cal. Const., art. XIII, § 16. Again, the Assessor’s role is to establish accurate

 and fairly assessed property values throughout the County. See Cal. Const., art. XIII, § 1. On the

 other hand, the tax collector’s duties involve the collection of property taxes. See Cal. Rev. & Tax.

 Code §§ 2602 and 27400, et seq.

           37.   Furthermore, an application for reduction in the regular year value of an

 assessment on the current local roll may be filed by the taxpayer during the regular filing period

 for that year. See Cal. Rev. & Tax. Code § 1603. In California, with respect to the 2023 tax year,

 the general deadline to file an appeal with the local Assessment Appeals Board is September 15,

 2023 if the local assessor provided timely notice to the taxpayer. See Cal. Rev. & Tax. Code §

 1603(b)(1). However, this deadline is extended to November 30, 2023 if the local assessor did not

 provide certain notice to the taxpayer. See Cal. Rev. & Tax. Code § 1603(b)(3). Thus, with the

 exception of Santa Clara, the Debtors have until November 30, 2023 to file an application with the



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 Counties for a proposed reduction in assessments related to the 2023 taxes. Here, the Debtors have

 not disclosed that they filed requisite applications for reduction of the 2023 regular assessments

 with respect to the Counties and the Counties are not aware of any pending appeal(s). Therefore,

 the Debtors’ request" to stay state proceedings pursuant to sections 105 and 505 of the Bankruptcy

 Code" is wholly irrelevant. See Motion, ¶ 4.

                       iv. State Court’s Judicial Review

           38.    As set forth above, the California Legislature has statutorily established a three-

 step process for handling challenges to property tax assessments and refund requests: (i) the filing

 of an application under Revenue and Taxation Code section 1603; (ii) the filing of an

 administrative refund claim under section 5097, subdivision (a); and (iii) the filing of an action in

 the superior court pursuant to Section 5140 of the California Revenue and Taxation Code. See

 Steinhart, 47 Cal.4th at 1307. If the California State Court invalidates a decision rendered by the

 AAB, the matter must be remanded to the AAB for further hearings consistent with the State

 Court’s decision. See Heavenly Valley v. El Dorado County Board Of Equalization (2000) 84

 Cal.App.4th 1323, 1348.

                 B. Debtors’ Failure To Address Necessary Complexities of the Tax Issues.

           39.    The Debtors challenge the valuation methodology applied by the California

 Counties in assessing the Property’s Fair Market Value. In a conclusory fashion unsubstantiated

 by any relevant evidence, the Debtors contend that: (i) the California Counties failed to apply the

 correct definition of Fair Market Value; (ii) the California Counties’ definition of Fair Market

 Value is "overstated"; (iii) the methodology employed by the California Counties’ in arriving at

 the Fair Market Value is "erroneous"; and (iv) the California Counties failed to consider the sale

 of Property at each of the stores which resulted in an "overvaluing" of the Property. See Motion,



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 ¶¶ 6, 7, 11 and 15.

           40.       The Counties submitted ample evidence in the form of supporting declarations

 filed by each of the Counties’ experienced appraisers confirming that the Counties properly

 assessed the Fair Market Value associated with the Debtors’ Property in accordance with the

 prescribed rules and regulations implemented by the BOE and as required under Section 110 of

 the California Revenue and Taxation Code. For example, the Counties correctly applied the

 statutory definition of "fair market value" (i.e., the amount of cash or its equivalent that property

 would bring if exposed for sale in the open market under conditions in which neither buyer nor

 seller could take advantage of the exigencies of the other) as of the January 1 Lien Date. See Cal.

 Rev. & Tax. Code § 110. Moreover, the evidence confirms that each of the Counties utilized the

 "cost approach" to value the Property described in the Motion under California law.

           41.       Although the Debtors purposely downplay the intricacies and complexity of the

 tax and assessment issues underling the Motion, the tax issues raised in the Debtors’ Motion are

 extremely complex. A determination of the disputes in this case would require this Court to

 undertake a fact-intensive analysis concerning, among other things, the appropriate valuation

 method utilized in each of the Debtors’ Property at the forty-nine (49) different store locations

 involving an undisclosed number of personal property located within seventeen (17) different

 counties situated throughout the State of California. At a minimum, this Court would be called

 upon to address, among other disputes, the following complex tax issues associated with each of

 the 49 locations:

                 (i) Did each of the California Counties correctly apply the correct definition of Fair
                     Market value under California law?


                 (ii) Was the asserted Fair Market Value asserted by each of the California Counties
                      "overstated?"


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                 (iii) What was the appraisal methodology utilized by each of the California Counties
                       under California law?


                 (iv) Did the Debtors correctly apply one of the proper valuation methods for valuing
                      business personal property under California law?


                 (v) Is the Debtor Sales Data a recognized or valid valuation methodology employed
                     in the State of California?


                 (vi) What was the Debtors’ revised value for each and every business personal
                      property, including, furniture, fixtures, equipment and leasehold improvements
                      associated with the Debtors’ forty-nine store locations?


                 (vii) What was the Counties’ asserted value for each and every business personal
                       property, including, furniture, fixtures, equipment and leasehold improvements
                       associated with the Debtors’ forty-nine store locations?


                 (viii) What was the total sum of personal property taxes in question for each of Debtors’
                       Property?


                 (ix) In which of the California Counties did the Debtors timely submit a Business
                      Property Statement under penalty of perjury?


                 (x) What are the exact dates associated with the sales with respect to the information
                     contained in the Debtor Sales Data?


                 (xi) In which of the Counties did the Debtors timely commence an appeal and for
                      which locations?


           42.        Numerous courts have abstained from hearing Section 505 requests when the tax

 issue is fact intensive. See e.g., Ryckman Creek Resources, 570 B.R. 483 at 483 (court would

 exercise its discretion to permissively abstain from hearing a complex, fact-intensive issue

 regarding propriety of taxing authority’s valuation of debtors’ real property for assessment

 purposes); In re ANC Rental Corp. v. Dallas County (In re ANC Rental Corp.), 316, B.R. 153, 159


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 (Bankr. D. Del. 2004) (bankruptcy court abstained from hearing chapter 11 debtors’ section 505

 motion, where claims involved fact-intensive issue regarding value of property in question, which

 impacted on uniformity of assessment of property taxes on other taxpayers in Texas, and where

 plan had already been confirmed, such that debtors’ claims did not affect court’s need to administer

 bankruptcy case); In re Beisel, 195 B.R. 378 at 380 (court abstained from hearing section 505

 motion after finding that it was fact-intensive and inconsistent interpretations of the tax laws would

 be detrimental to both the taxing authority and future taxpayers); cf. In re Indianapolis Downs,

 LLC, 462 B.R. 104, 114-15 (Bankr. D. Del. 2011) (in determining tax under Section 505, court

 notes tax issue raised "not complex", "not involve valuation at all", only "using traditional tools of

 statutory interpretation" and "uniformity of assessment is not a significant issue as there are only

 two Racinos in Indiana and they are both parties to this proceeding.").

           43.    Given that California law governing business personal property taxation is

 complex, the BOE, acting in an oversight capacity, has ensured mandatory compliance by all

 California county assessors which become binding statewide. Contrary to the Debtors’ assertion

 that an "expeditious judicial determination" can be rendered by this Court, Fair Market Value is

 only a starting point in the complex procedure of equalization that has been created by the

 California State Board of Equalization. Here, the parties’ tax dispute underlying the Motion would

 undoubtedly involve the Court’s fact-intensive analysis and is extremely complex. Therefore, this

 factor weighs strongly in favor of abstention.

           Factor 2: The Need To Administer The Bankruptcy Case In an Orderly and Efficient
           Manner

           44.    The tax issues raised in the Motion will not affect this Court’s need to administer

 the Debtors’ bankruptcy case in an orderly and efficient manner because the proposed

 determination of the Debtors’ Motion is not a condition to confirmation of the plan given that the


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 Debtors’ Second Amended Plan was confirmed on September 14, 2023. See Docket No. 2172

 Stated otherwise, the relief sought in the Debtors’ Motion does not impact the Debtors’ Second

 Amended Plan but is merely the Debtors’ desire to obtain certainty on a tax obligation. Thus, there

 is no need to expeditiously resolve this instant tax dispute to ensure an efficient and orderly

 administration of the Debtors’ bankruptcy cases. Accordingly, this second factor weighs neither

 in favor of nor against abstention. See Ryckman Creek Resources, 570 B.R. at 488 (court

 determined that this factor was neither in favor of nor against abstention because the debtor’s tax

 liability motion was not a condition to confirmation of the plan); ANC Rental, 316 B.R. at 159

 (noting tax claims proceeding "do not affect the Court’s need to administer the bankruptcy case in

 an orderly and efficient manner because a plan has already been confirmed."); cf. In re Indianapolis

 Downs, LLC, 462 B.R. at 115 (noting a ruling on tax motion "will materially aid the [d]ebtor in

 structuring its plan of reorganization, which in turn will likely impact the entire creditor body").

           Factor 3: Whether Adjudicating the Issue Will Create a Substantial Burden on the
           Court’s Docket

           45.    The Counties have been advised that the Bankruptcy Court for the District of New

 Jersey possesses a rather heavy bankruptcy case load, including the recently filed Rite Aid Chapter

 11 proceedings. Thus, this factor undoubtedly weighs in favor of abstention.

           Factor 4: Whether Significant Time is Needed to Reach a Decision

           46.    The Debtors complain that "the Debtors may be forced to proceed with contested

 matters in the local taxing jurisdictions at significant expense to the estates and which could take

 a substantial time to conclude".      The Debtors further opine that "[a]n expeditious judicial

 determination by this Court regarding the Fair Market Value of the Property would considerably

 aid the speed and effort required to administer the Debtors’ Chapter 11 Cases to the benefit of the

 estates and their creditors". See Motion ¶ 26.


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           47.     Again, the Debtors clearly downplay the complexity and the amount of time

 required for the Debtors and each of the California Counties to submit their evidence by suggesting

 that the Court can streamline the essential elements of each party’s appraisal methodology,

 reasoning, and conclusions. However, realistically, a significant amount of time will be required

 to present the evidence needed to assess the value of each of the Debtors’ Property. For instance,

 this Court will be required to hear evidence describing the condition of the Debtors’ personal

 property and assets in addition to the proper methodology for valuing each of those properties.

 Unlike other Section 505 cases, the issue to be determined here is not simply whether the tax is

 due, but whether each of the California Counties used the proper method for determining the total

 amount of taxes due and owing by the Debtors. This Court will surely be required to hold

 evidentiary hearings for each of the seventeen (17) California Counties (in addition to the nine (9)

 additional Counties affected by the Second Motion), and all parties will be required to present

 expert testimony to ascertain the Property’s Fair Market Value.        Therefore, this factor weighs

 heavily in favor of abstention. See In re Majestic Star Casino, LLC, 457 B.R. 327 (Bankr. D. Del.

 2011) (court conducted a 3-day evidentiary hearing with 7 witnesses and numerous exhibits, when

 only 2 riverboat casinos were being valued for ad valorem purposes).

           Factor 5: Whether the Debtor’s Asset and Liability Structure Warrants a Ruling

           48.     This matter involves approximately seventy (75) jointly-affiliated Debtors with

 complex asset and liability structures. Such complexity weighs in favor of abstention. See

 Ryckman Creek Resources, 570 B.R. at 488; ANC Rental, 316 B.R. at 159.

           Factor 6: The Potential Prejudice to the Debtors, Taxing Authorities and Creditors

           49.     There is a proper forum established under California law to address this tax dispute

 (namely, the AAB), which remains available to the Debtors. See Cal. Const., art. XIII, § 16. There



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 is an efficient and uniform process in place to facilitate review, and appellate consideration where

 appropriate.    The Debtors have conducted (and continue to conduct), extensive business

 throughout the State of California while the California Counties conduct no business in New

 Jersey.     Thus, the Debtors should be prohibited from complaining that California is an

 inconvenient forum when Debtors have voluntarily chosen to do business there for many years.

           50.    There is zero actual evidence to suggest that this Court would provide a more

 optimal outcome for the Debtors and/or that the Debtors will encounter prejudicial impact by

 allowing the local taxing authorities to handle these matters. On the other hand, significant

 prejudice will be imputed to the Counties if this Court were to decide to exercise jurisdiction over

 the underlying the tax disputes as the entire local entourage involved in the assessment and the

 taxes in issue would need to appear before this Court. The proposed costs associated with travel

 by California Counties’ appraisers and their staff to New Jersey would be costly, time-consuming

 and highly inconvenient and they would be disadvantaged by having to present their expertise

 before the New Jersey Bankruptcy Court.

           51.    Accordingly, this final factor also weighs in favor of abstention. See e.g.,

 Ryckman Creek Resources, 570 B.R. at 489 (court held there was no potential prejudicial impact

 on the debtors by allowing the local tax authority to handle this matter and thus exercised its

 discretion and abstained from determining the disputed tax liability under section 505(a)(1)); In re

 ANC, 316 B.R.at 159 (court abstained from hearing section 505 motion after determining that tax

 authorities would be "significantly prejudiced" by having the taxes at issue determined by a

 Delaware court); Building Tech. Corp. v. City of Hannibal (In re Building Tech. Corp.), 167 B.R.

 853, 858 (Bankr. S.D. Ohio 1994) (court abstained from review of valuation by city and county

 taxing authorities after concluding there would be serious prejudice to taxing authorities in



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 establishing valuation of Missouri real property assets in Ohio bankruptcy court).

           52.   As set forth above, in the context of Section 505, abstention is often granted where

 uniformity of assessment is an issue. See e.g., In re ANC Rental Corp., 316 B.R. at 159; In re

 Metromedia Fiber Network, Inc. v. Various State and Local Taxing Auth. (In re Metromedia Fiber

 Network, Inc.), 299 B.R. 251, 281 (Bankr. S.N.Y. 2003); In re AWB Assocs., G.P., 144 B.R. 270,

 276 (Bankr. E.D. Pa. 1992) ("[a]bstention from deciding a tax adjudication question under Section

 505 is only appropriate under a showing that uniformity of assessment is of significant

 importance") (citations omitted). The California "Constitution requires all property subject to

 taxation to be assessed at the same percentage of . . . value; i.e., there must be uniformity of

 assessment." Shafer v. State Bd. of Equalization (1985), 174 Cal.App.3d 423, 429. Here, the tax

 dispute involves the value of the Debtors’ Property upon which the tax is based and the taxable

 Property’s relation to California. Thus, resolution of this dispute will affect the uniformity of

 assessment of property taxes imposed on other taxpayers who possess personal property in

 California. As the ANC Rental Court expressly recognized, this is a compelling reason to abstain.

 See ANC Rental Corp., 316 B.R. at 159.

           53.   Although bankruptcy courts may be routinely called upon to determine the value

 of a variety of types of property in many different locations, determining the appropriate method

 for assessing the debtors’ properties, as well as reassessing the value of that property, are issues

 best decided under the local law applicable here by the local adjudicative bodies. See Ryckman

 Creek Resources, 570 B.R. at 487-488.

           54.   In Metromedia Fiber Network, a case with strikingly similar facts, the chapter 11

 debtors initiated adversary proceedings against various state and local taxing entities and

 individual officers representing those entities, alleging that defendants appraised, assessed, and



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 sought to collect ad valorem taxes based on valuations of debtors' taxable property that grossly

 exceeded property's fair market value and seeking determination of property's fair market value.

 While numerous states were involved in the debtors’ Section 505 proceedings, the court gave

 deference to property taxation at the state and local level by abstaining and stating:

                 [A]bstention is appropriate ‘where uniformity of assessment is of
                 significant importance’ to the [] respective taxing schemes…Local
                 property taxation is inherently and quintessentially local in the sense
                 that a fair allocation of the cost of government amongst the universe
                 of local taxpayers is and must be a product of local political,
                 legislative, executive and administrative decision making. The
                 fundamental objective of taxation at the state and local level must
                 be to apportion the tax burden equitably in accordance with the local
                 political decision-making process. Where some form or definition
                 of market value is the touchstone for assessment, fair allocation
                 among the tax base may depend more on the application to all
                 affected taxpayers of uniform standards for assessing value than on
                 an economist's ideal calculation of fair market value. . . .
 299 B.R. at 282 (internal citations omitted).

           55.    Abstention in this matter will not leave the Debtors without an alternative remedy.

 Upon consideration of all of the aforementioned factors, the Counties respectfully request that this

 Court exercise its discretion under 28 U.S.C. § 1334(c)(1) and permissively abstain from

 determining the parties’ disputed tax liability.

           IV.   THE COURT MUST DENY THE MOTION BECAUSE DEBTORS HAVE
                 FAILED TO CARRY THEIR BURDEN

                 A. California Law Presumes That Assessors Have Properly Performed Their
                    Duties

           56.    Under California law, the law presumes that an assessor has performed his or her

 duty and has assessed all properties fairly and on an equal basis. See Cal. Code. Regs., tit. 18, §

 321. The taxpayer has the burden of proving otherwise. See e.g., Chevron USA, Inc., 230

 Cal.App.4th 1315 at 1331 ("[t]he burden is on the taxpayer to prove the property was improperly

 assessed") (citation omitted); Best v. Los Angeles County (1964) 228 Cal.App.2d 655, 657 ("[i]n

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 the proceeding before the board of equalization the burden was upon the taxpayers to show that

 the assessments were improper (citation omitted). ‘It is a rule applicable to assessors and to boards

 having assessing powers that it is presumed that the assessing officers have properly performed

 the duties entrusted to them, and, consequently, that their assessments are both regularly and

 correctly made’" (citation omitted).

           57.   Similarly, bankruptcy courts give full and faith credit to the law of the state upon

 which the tax is based. See e.g., In re AWB Assocs., G.P., 144 B.R. 270 at 278 ("[t]he valuation

 of property for purposes of determining property taxes must be consistent with state law principles,

 as the valuation is merely part and parcel of the adjudication of the tax due and owing, a question

 controlled by state law"); Mocco and Village Townhouse Estates, Inc. v. City of Jersey City (In re

 Mocco), 222 B.R. 440, 454 (Bankr. D. N.J. 1998) ("[i]n exercising its statutory authority to

 determine the amount of legality of any tax, bankruptcy court must give full faith and credit to

 substantive law of state to answer ultimate question of whether taxes are legally due and owing"

 (citation omitted); Arkansas Corp. Commission v. Thompson, 313 U.S. 132, 142 (1941)

 ("manifestly, whether or not taxes are ‘legally due and owing’ to a state depends upon the valid

 laws of the state"). Therefore, this Court should give weight to the appraisal methods utilized by

 each of the California Counties’ Assessors and local appraisers in the context of this proceeding.

           58.   For example, in AWB Associates, the bankruptcy court specifically held that

 property located in New Jersey was subject to the substantive law of New Jersey and that property

 assessments made by the property tax authority are "presumed" correct. See In re AWB Assoc.,

 144 B.R. 270 at 278-279. Moreover, the Supreme Court articulated that "there is nothing in the

 history of bankruptcy or reorganization legislation to support the theory that Congress intended to

 set the federal courts up as super-assessment tribunals over state taxing agencies". Arkansas Corp.,



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 313 U.S. 132 at 145.

           59.    Also, in Metromedia Fiber Network, a very similar factual case, in deciding to

 abstain the court noted:

                 The problem with the debtor’s ‘streamlined,’ unified approach to
                 determining the ‘fair market value’ of all their Taxable Property in
                 multiple taxing jurisdictions using a single methodology or
                 combination of methodologies is that the resulting uniform
                 valuation may produce results which are highly anomalous and
                 discriminatory vis-à-vis other similarly situated taxpayers in the
                 various jurisdictions. Moreover, all of the [taxing authorities]
                 employ their own individualized schemes and methodologies for
                 allocating the burden of taxation amongst all the taxpayers in their
                 respective jurisdictions…Any uniform valuation of the debtors’
                 Taxable Property determined by this Court is bound to be at variance
                 with state or local methodologies mandated by local law or practice,
                 and with assessment valuation by the [taxing authorities] of other
                 taxpayer properties within their respective jurisdictions, producing
                 disparate and discriminatory results.

                 Uniformity in the laws governing bankruptcies is constitutionally
                 mandated in Article I, Section 8, Clause 4; but uniformity in taxation
                 is not. Nothing in the Constitution or the Bankruptcy Code entitles
                 a debtor to uniform property tax determinations in differing tax
                 jurisdictions, and nothing in federal law entitles the federal courts to
                 impose uniform taxation schemes or methodologies on state and
                 local governments.
 299 B.R. at 283.

           60.    Accordingly, this Court is required to "presume" that the Counties properly

 applied California law in assessing the value of the Debtors’ Property.

                 B. The Debtors’ Failed To Properly Assess The Property As Of The January 1
                    Lien Date

           61.    In California, the Assessor assesses all taxable property in his county on the lien

 date. See Cal. Rev. & Tax. Code § 405(a) ("[a]nnually, the assessor shall assess all the taxable

 property in his county, except state-assessed property, to the persons owning, claiming, possessing,

 or controlling it on the lien date"); see also, Seegmiller, 53 Cal.App.4th at 1400 (assessor must


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 assess all taxable property in the county to the person who owns, possesses, claims, or controls it

 on the lien date).

           62.    Similarly, under California law, "all tax liens attach annually as of 12:01 a.m. on

 the first day of January preceding the fiscal year for which the taxes are levied". See Cal. Rev. &

 Tax. Code § 2192); see also, California Computer Products, Inc. v. County of Orange (1980) 107

 Cal.App.3d 731, 737 ("[i]t is an equally well settled principle of the law of taxation that the tax

 must be determined in accordance with the law in effect when the right to the tax vested").

           63.    The Debtors correctly disclose that taxable property is required to be appraised

 under California law at fair market value as of the January 1 Lien Date of the applicable tax year.

 See Motion, ¶ 13. The Debtors further disclose that as of January 1, 2023, the Debtors had 1,020

 stores but after the "Debtors have gone undergone a store closing process for a large number of

 stores, selling all assets and inventory in place", the store count in the United States was reduced

 to just 360 as of the Petition Date. Id. at Id. at ¶ 17. However, the Debtors’ reliance on undisclosed

 "Debtor Sales Data" obtained sometime after January 1, 2023, in conjunction with Debtors’ store

 closings is problematic. Id. at ¶ 16. It is unclear when those sales actually occurred. The Motion

 is completely devoid of critical information, such as, the timing of the sale, the type of sale and

 the manner in which it was conducted.

           64.    If, in this case, the Debtors relied on sales data between the January 1 Lien Date

 and the Petition Date of April 23, 2023 (or thereafter), any sales data conducted more than ninety

 (90) days after the January 1 Lien Date cannot be considered. See Cal. Rev. & Tax. Code § 402.5;

 see also, State of California Board of Equalization Property Tax Rules, Rule Number 324, subd.

 (d) (the assessor "shall not consider a sale if it occurred more than 90 days after the date for which

 value is being estimated . . ."). Consequently, it is simply improper to rely on sales data more than



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 ninety (90) days after January 1, 2023. Moreover, under California Revenue and Taxation Code

 Section 402.5, comparable sales shall be "sufficiently alike in respect to character, size, situation,

 usability, zoning, or other legal restriction." If the Debtors performed the comparative sales

 analysis, the Debtor’s Motion fails to identify and disclose the differences between the Debtors’

 Property and comparable properties that could affect their respective market values.

           65.    Additionally, the Debtors profess that the Debtor Sales Data was derived not only

 from sales from stores which are the subject of this Motion but "other stores throughout Debtors’

 portfolio". See Motion, ¶ 17. This means that the Debtors relied on sales at stores outside of

 California. However, sales values outside of California are not a reliable measure of sales prices

 in California, which is one of the most—if not the most—expensive markets in the nation. Thus,

 the Debtor Sales Data is simply not comparable or credible.

           66.    Moreover, case law makes clear that a sale or disposal of property after the lien

 date does not affect the property owner’s tax liability for the ensuing tax year. See e.g., Fujitsu

 Microelectronics v. Assessment Appeals Bd. of the County of San Diego (1997) 55 Cal.App.4th

 1120, 1125 (forced sale of property at a sacrificial price after lien date has no bearing on property's

 value on lien date); In re ATA Airlines, Inc., No. 08-03675-BHL-11, 2010 WL 3955574, at *5

 (Bankr. S.D. Ind. Oct. 4, 2010). Accordingly, the Debtors’ Motion should be denied for Debtors’

 failure to assess the value of the Property on the January 1 Lien Date.

                 C. The Debtors Did Not Apply "Fair Market Value" Under California Law

           67.    The Debtors correctly identify the California statute defining "fair market value",

 which is defined as:

                 Except as is otherwise provided in Section 110.1, "full cash value"
                 or "fair market value" means the amount of cash or its equivalent
                 that property would bring if exposed for sale in the open market
                 under conditions in which neither buyer nor seller could take


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                 advantage of the exigencies of the other, and both the buyer and
                 the seller have knowledge of all of the uses and purposes to which
                 the property is adapted and for which it is capable of being used, and
                 of the enforceable restrictions upon those uses and purposes.
 See Cal. Rev. & Tax. Code § 110 (emphasis added).

           68.    Notably missing from the Debtors’ valuation analysis is the fact that Debtors

 completely ignore one of the most significant elements set forth in the California statute, namely,

 that fair market value constitutes cash (or its equivalent) if property was sold "under conditions

 in which neither buyer nor seller could take advantage of the exigencies of the other". Id.

 (emphasis added). Here, the Debtors rely on sales data from its "going out of business" sale which

 appears to have been commenced prior to its slide into bankruptcy. Thus, the Debtors sold their

 assets in a distressed sales environment. Although it is unclear, to the extent the Debtors also

 relied on sales data derived from its bankruptcy sales, "[s]ales of assets from a bankruptcy estate

 should not necessarily be considered valid indicators of market value under the definition of

 Revenue and Taxation Code section 110. The buyer of property from a bankrupt's estate has the

 ability to take advantage of the exigencies of the seller. Frequently, the trustee's desire to liquidate

 the assets in an abbreviated period of time further impinges on the concept of 'open market

 transaction.'" See Assessors’ Handbook, Section 504 (Assessment of Personal Property and

 Fixtures), p. 130.

           69.    In the circumstances presented here, the Debtors’ evidence completely ignores the

 important "exigency" element set forth in California’s definition of "fair market value", which is

 a fundamental flaw in Debtor’s valuation analysis. By erroneously relying on the Debtors’

 distressed sales, the Debtors ignore other more reliable comparable sales where the buyer is not

 able to take advantage of the exigencies of the seller.

           70.    Moreover, "[v]alue, for property tax purposes, is market value". See California


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 State Board of Equalization, Assessment of Personal Property and Fixtures (October 2002),

 Chapter 1, p. 19. "This is the price (the amount of money) that a property will bring when it is

 sold in an open market. It is a dollar amount determined by the utility of the property, as manifested

 through the purchasing power of those who are interested in acquiring it, the relative scarcity of

 the commodity, and the difficulty involved in overcoming this scarcity. In other words, value

 (market value) is determined by supply and demand." Id.

           71.    In a benchmark decision, the California Supreme Court defined the term market

 value as used in the context of property tax assessment:

                 It provides, in other words, for an assessment at the price that
                 property would bring to its owner if it were offered for sale on an
                 open market under conditions in which neither buyer nor seller
                 could take advantage of the exigencies of the other. It is a measure
                 of desirability translated into money amounts . . . and might be called
                 the market value of property for use in its present condition.
 See De Luz Homes Inc. v. County of San Diego (1955) 45 Cal.2d 546, 561-562.

           72.    Additionally, "[i]In order to use the sale of the assessed property or like property

 to determine the property's value for tax assessment purposes, the sale must be a normal, fair,

 arm's-length transaction between parties who are willing, but not forced to sell or buy". In re

 Cable & Wireless USA, Inc., 331 B.R. 568, 578 (Bankr. D. Del. 2005). As set forth above, in the

 financially distressed sale environment, such sales do not meet the willing seller test because there

 is an element of compulsion in the sales transaction, even if it is an auction sale. As the court in

 Cable Wireless recognized, the terms "fair market value" means "neither panic value, auction

 value, speculative value, nor a value fixed by depressed or inflated prices. In fact, a market may

 be established only where there are willing sellers and buyers in substantial numbers". 331 B.R.

 568 at 579 (citation omitted).

           73.    In a strikingly similar case entitled In re Electronic Theatre Restaurants, Inc., 85


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 B.R. 45 (Bankr. N.D. Ohio 1988), the parties were in dispute as to the proper appraisal method to

 be utilized in establishing a value for the subject real properties. The method utilized by the debtor

 to determine fair market value was the value established by a liquidation valuation of the property.

 See Electronic Theatre Restaurants, 85 B.R. 45 at 48. Relying on Texas law, the City of Houston

 argued that fair market value was to be derived at public sale, and not through a forced or auction

 sale. As such, the Texas municipality argued that the appraisal method used by the debtor was in

 derogation of Texas property law which read in pertinent part:

                   Value. The term ‘true and full value,’ wherever used shall be held
                   to mean fair market value, in cash, at the place where the property
                   to which the term is applied shall be at the time of assessment, being
                   the price which could be obtained therefor at public sale, and not at
                   forced or auction sale ... Texas Property Tax Code, Art. 7149, § 20)
 Id.

           74.      In light of the above-referenced definition accorded to fair market value under

 Texas law, the bankruptcy court in Electronic Theatre held that the assessment valuation utilized

 by the City of Houston would be accepted under Section 505(a). Id.

           75.      In summary, the sale of assets from a distressed or liquidation environment are

 not necessarily considered valid indicators of market value under California law’s definition of

 "fair market value" because the buyer has the ability to take advantage of the exigencies of the

 seller while the Debtors are forced to sell their inventory at artificially low prices. Therefore, the

 Motion should be denied for Debtors’ failure to apply the Fair Market Value as prescribed under

 California law.

                   D. The Debtors Reliance On Its Own "Debtor Sales Data" Is Not A Recognized
                      Method of Valuation Under California Law

           76.      The Debtors’ evidence and the information gleaned from the Lammert Declaration

 is inadequate in many respects. First, the Debtors’ reliance on its own "Debtor Sales Data" to


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 determine fair market value without comparing to outside data is not a recognized method of

 valuation in any appraisal standards. Second, the Debtors do not disclose an adequate explanation

 for the validity of the conclusions set forth in the Lammert Declaration.

           77.   In California, there are three primary valuations methods used to value properties:

 the comparative sales approach, the income approach, and the cost approach. See Assessors’

 Handbook, Section 504 (Assessment of Personal Property and Fixtures), p. 50. As set forth in

 each of the Counties’ supporting declarations filed in support of this Objection, each of the

 Assessors’ experts correctly utilized the "cost approach" to value the Property described in the

 Motion under California law.

           78.   When valuing business property, as is the case in the present matter, the cost

 approach is the most reliable. As set forth in the Assessors’ Handbook published by the BOE,

 certain guidelines for performing assessment valuations are disclosed. See Assessors’ Handbook,

 Section 504 (Assessment of Personal Property and Fixtures). With respect to business personal

 property valuations, the BOE instructs all persons valuing California business properties that the

 cost approach" is the method of valuation used most frequently to value personal property and

 business fixtures for assessment purposes because it lends itself to mass appraisal and is employed

 based on information provided on yearly property statements." Id. at p. 50. This is entirely

 consistent with the instructions set forth in California Code of Regulations, title 18, section 6(a).

 In this case, the Assessors correctly utilized the cost approach to value the Property in issue.

           79.     Moreover, in utilizing the cost approach to determine values as of January 1,

 2023, the Assessors also relied on cost figures gleaned from the Debtors’ Business Property

 Statement filed with the Assessors under penalty of perjury. The Assessors had—and still have—

 no reason to believe that those cost figures were falsely issued and the Debtors do not challenge



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 such information.

           80.      Additionally, in performing a cost approach to valuation, an appraiser is required

 to break down the values between personal property, fixtures, and structures. See Cal. Const., art.

 XIII, section 13; see also, Cal. Rev. & Tax. Code §§ 602 and 607 and Cal. Code Reg., title 18, §

 461. Again, the Counties’ evidence reveals that each of the appraisers did that for purposes of

 valuing the Property as of January 1, 2023. On the other hand, the Debtors’ evidence is completely

 devoid of any information indicating that Debtors segregated those assets and valued them

 separately in accordance with California law.

           81.      In conclusion, the Court should find that the Debtor Sales Data is not a recognized

 method of valuation under California law and that the Counties’ use of the cost approach was and

 continues to be the appropriate valuation method in light of the Motion.

                                    RESERVATION OF RIGHTS

           82.      Nothing in this Objection shall constitute a waiver of the Counties’ proof of

 claim(s), whether filed or unfiled. Without limiting the generality of the foregoing, the Counties

 expressly reserve their right to amend, modify or supplement this Objection, and to file further

 pleadings and/or joinder(s) in opposition to the Motion as expressly permitted herein and as may

 be appropriate in the course and scope of this proceeding.

                                            CONCLUSION

           WHEREFORE, for the reasons set forth herein, the Counties respectfully request:

           (i)     That the Court deny the Motion due to defective service;

           (ii)    That, as to Santa Clara’s interests, this Court lacks jurisdiction over the Debtors’

                   Motion pursuant to Section 505(a)(2)(C) of the Bankruptcy Code;

           (iii)   If the Court looks beyond the defective service of the Motion and the exception to



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                  Section 505(a) of the Bankruptcy Code with respect to Santa Clara’s interests, that

                  the Court exercise its discretion to permissively abstain from hearing the Motion

                  under 28 U.S.C. § 1334(c)(1);

           (iv)   If the Court does not abstain, that the Court deny the entire Motion as to all

                  California Counties because the Debtors did not meet their burden; and

           (v)    Grant such other and further relief it deems appropriate, including, if the Court is

                  not inclined to deny or abstain from hearing the Motion, the Counties respectfully

                  request that (1) the Court authorize the exchange of discovery and/or information;

                  (2) the Court establish a briefing schedule and that an evidentiary hearing be set

                  with respect to the disputed valuation issues; and (3) the Court establish a common

                  procedure for all objectors and/or responders who possess common interests in law

                  or fact in the interest of judicial efficiency and economy.

 Dated: October 17, 2023                                PORZIO BROMBERG & NEWMAN, P.C.

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